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                           UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF KENTUCKY
                                LOUISVILLE DIVISION

ROBERT JAMES SWINT                                                                     PLAINTIFF

v.                                                       CIVIL ACTION NO. 3:21-cv-265-BJB

LORD BALTIMORE COMPANY et al.                                                      DEFENDANTS

                                           MEMORANDUM

        Plaintiff Robert James Swint filed a pro se complaint on his own paper. See DN 1. On

June 9, 2021, the Court ordered Plaintiff within 30 days to file an amended complaint on the

Court’s general complaint form, prepare a summons for each Defendant, and either pay the $402

filing fee or file a non-prisoner application to proceed without prepayment of fees. See DN 4.

The Court warned Plaintiff that the failure to comply with the Order within the time allotted

could result in dismissal of the action.

        Plaintiff’s deadline has passed, yet Plaintiff has failed to comply with the Court’s Order

or to otherwise take any action in this case. Rule 41(b) of the Federal Rules of Civil Procedure

authorizes the involuntary dismissal of an action if a plaintiff fails to prosecute or to comply with

an order of the court. See Jourdan v. Jabe, 951 F.2d 108, 109 (6th Cir. 1991) (“Fed. R. Civ. P.

41(b) recognizes the power of the district court to enter a sua sponte order of dismissal.”).

Although federal courts afford pro se litigants some leniency on matters that require legal

sophistication, such as formal pleading rules, the same policy does not support leniency from

court deadlines and other procedures readily understood by laypersons, particularly where the

pro so litigant has altogether failed to pursue a case. Id. at 110. As the Court of Appeals has

explained, “the lenient treatment of pro se litigants has limits. Where, for example, a pro se

litigant fails to comply with an easily understood court-imposed deadline, there is no basis for
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treating that party more generously than a represented litigant.” Pilgrim v. Littlefield, 92 F.3d

413, 416 (6th Cir. 1996) (citing Jourdan, 951 F.2d at 110). Courts have an inherent power,

“acting on their own initiative, to clear their calendars of cases that have remained dormant

because of the inaction or dilatoriness of the parties seeking relief.” Link v. Wabash R.R. Co.,

370 U.S. 626, 630 (1962).

         The Court finds that Plaintiff’s failure to comply with the Court’s prior order shows a

failure to pursue his case. Therefore, by separate order, the Court will dismiss this lawsuit.

Date:   August 20, 2021




cc:    Plaintiff, pro se
B213.009




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